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CYRUS R. VANCE, JR.

DisTRICT ATTORNEY

VIA ECF AND HAND DELIVERY
Judge Victor Marrero

US. District Court Judge

Southern District of New York

500 Pearl Street, New York, N.Y.

By FAX: 212-805-6382

September 23, 2019

Re: Donald J. Trump v. Cyrus R. Vance, Jr.
Case No. 1:19-cv-08694 (VM)

Dear Judge Marrero:

We represent the office of Cyrus R. Vance, Jr., District Attorney of New York
County, a defendant in this matter.

Pursuant to section II.C of your individual practices, and in light of the discussion
between your Chambers and the parties on September 19, 2019 and the expedited nature of
the briefing in this matter, we respectfully request that the Court treat this letter and the
accompanying memorandum of law as a motion to dismiss the Complaint as to all parties.
As described in our memorandum, we believe that a discrete legal issue is dispositive of the
entire action, and dismissal is appropriate pursuant to Federal Rules of Civil Procedure
12(b)(3) and 12(b)(6), 28 United States Code section 2283, and related decisional law..

We further request permission to file under seal an unredacted copy of the
Declaration of Solomon Shinerock, which relates in part to materials obtained by a grand

jury.

Thank you for your consideration of the above requests.

Very truly yours,

     

Christopher Conroy
Chief, Major Economic es Bureau
Solomon Shinerock, Assistant District Attorney
New York County District Attorney’s Office

 
